

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS







NO. WR-74,685-03






PAMELA DIANN WILBURN, Relator


v.


 177TH JUDICIAL DISTRICT COURT, Respondent







ON APPLICATION FOR A WRIT OF MANDAMUS


CAUSE NO. 692000-A IN THE 177th JUDICIAL DISTRICT COURT
	

FROM HARRIS COUNTY





	Per curiam.


O R D E R



	Relator has filed a motion for leave to file an application for a writ of mandamus pursuant
to the original jurisdiction of this Court.  In it, she contends that she filed an application for a writ
of habeas corpus in the 177th Judicial District Court of Harris County, that more than 35 days have
elapsed, and that the application has not yet been forwarded to this Court.  Relator contends that the
trial court entered an order designating issues on February 8, 2011.


	Respondent, the Judge of the 177th Judicial District Court of Harris County, shall file a
response with this Court by having the District Clerk submit the record on such habeas corpus
application.  I n the alternative, the trial court may resolve the issues set out in its order and then have
the District Clerk submit the record on such application.  In either case, the trial court's response
shall be submitted within 30 days of the date of this order. This application for leave to file a writ
of mandamus will be held in abeyance until Respondent has submitted its 	response. 


Filed: March 28, 2012

Do not publish	


